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          No. 24-3188, 24-3559 & 24-4029

  IN THE UNITED STATES COURT OF APPEALS
          FOR THE NINTH CIRCUIT
              _________________

               MI FAMILIA VOTA, et al.,
                             Plaintiffs-Appellees,
                         v.
                ADRIAN FONTES, et al.,
                             Defendants-Appellees,
    REPUBLICAN NATIONAL COMMITTEE, et al.,
                            Intervenor-Defendants-
                            Appellants/Cross-Appellees
             ___________________

   On Appeal from the United States District Court
             for the District of Arizona
       No. 2:22-cv-00509-SRB (consolidated)
                Hon. Susan R. Bolton
              ____________________

PROFESSOR JUSTIN LEVITT’S MOTION FOR LEAVE
        TO FILE AMICUS CURIAE BRIEF
            _____________________

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                              Counsel and Amicus Curiae
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      I. INTRODUCTION
      Pursuant to Fed. R. App. P. 29(a)(3), Professor Justin Levitt respectfully

seeks this Court’s leave to file an amicus curiae brief. In accordance with Ninth

Cir. R. 29-3, the undersigned movant endeavored to obtain consent from all parties

to the filing of the proposed brief. While most provided consent, some parties

“took no position” on the matter, and a few remaining nominal parties did not

respond, thus requiring this motion for leave. The proposed amicus brief

accompanies this motion, as required by Fed. R. App. P. 29(a)(3).

      II. INTEREST IN FILING THE PROPOSED BRIEF
      Movant Professor Justin Levitt is a professor of constitutional law,

legislation and regulation, and the law of democracy at LMU Loyola Law School,

Los Angeles, and a nationally recognized expert on election law. He has filed

amicus briefs on matters relating to election law in the past, as counsel and as

amicus, in various state and federal courts including the U.S. Court of Appeals for

the Ninth Circuit. Professor Levitt seeks to offer an amicus brief in this matter to

assist the Court in evaluating the plaintiffs' claims and district court's decision with

respect to the Materiality Provision of the Civil Rights Act of 1964, 52 U.S.C. §

10101(a)(2)(B) (hereinafter "Materiality Provision").

      In 2012, long before the events underlying the instant litigation, Professor

Levitt explored the concept of materiality in the electoral context in academic


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research, in what the Fifth Circuit recognized as "one of the few scholarly articles

on the Materiality Provision." Vote.org v. Callanen, 89 F.4th 459, 486 (5th Cir.

2023). And for several years, long before the events underlying the instant

litigation, Professor Levitt served in the Civil Rights Division of the U.S.

Department of Justice, supporting and supervising the enforcement of federal

statutes including the Materiality Provision. Professor Levitt hopes that this

experience and the analysis provided in the proposed brief may be useful in the

Court's resolution of this appeal.

      III. THE PROPOSED AMICUS BRIEF WOULD ASSIST THE
           COURT IN RESOLVING CLAIMS UNDER THE MATERIALITY
           PROVISION
      The proposed amicus brief provides additional context for the district court’s

analysis and findings regarding the Materiality Provision. The proposed brief

highlights the meaning and application of “materiality” in the Materiality Provision

by explaining the meaning and application of the term in a range of other legal

contexts, as explored in Professor Levitt’s academic research. The proposed brief

also examines the remainder of the Materiality Provision, discussing not only the

appropriate threshold for “materiality” but also what the Materiality Provision

requires to be material and the particular decision the Materiality Provision

requires materiality to. The proposed brief highlights when the parties’ proposed

conclusions reflect the statutory interpretation most consistent with plain text,


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legislative history, and precedent, and when they do not. Finally, the proposed

brief reviews the application of the Materiality Provision to the underlying facts in

this matter, suggesting that the district court was correct to find that, in light of the

other information available, errors or omissions in the citizenship checkbox or

place-of-birth information on Arizona voter registration forms will be immaterial

in the litigated context, and that federal law therefore protects voters from

disenfranchisement on the basis of such errors or omissions.

      IV. CONCLUSION
      For the foregoing reasons, the undersigned movant respectfully requests this

Court’s leave to file the attached amicus brief.



DATED: August 19, 2024                             Respectfully submitted,


                                                   /s/ Justin Levitt
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                      CERTIFICATE OF COMPLIANCE


      The accompanying motion complies with the type-volume limitation of Fed.

R. App. P. 27(d)(2)(A) and Ninth Circuit R. 27-1(1)(d), because the motion contains

552 words, excluding the parts of the motion exempted by Fed. R. App. P. 27(d)(2),

Fed. R. App. P. 27(a)(2)(B), and Fed. R. App. P. 32(f).

      The accompanying motion complies with the typeface and type style

requirements of Fed. R. App. P. 27(d)(1)(E), Fed. R. App. P. 32(a)(5), and Fed. R.

App. P. (32)(a)(6), because the motion has been prepared using Microsoft Word in

14-point Times New Roman font, a proportionally spaced typeface.




DATED: August 19, 2024                    By:    /s/ Justin Levitt
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                         CERTIFICATE OF SERVICE


      I hereby certify that on August 19, 2024, I electronically filed the foregoing

motion, together with an accompanying proposed brief Amicus Curiae as an

exhibit, with the Clerk of the Court for the United States Court of Appeals for the

Ninth Circuit by using the &RXUW V ACMS system, thereby serving all counsel of

record.




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   BRIEF AMICUS CURIAE OF PROFESSOR JUSTIN LEVITT
IN SUPPORT OF PLAINTIFFS-APPELLEES AND AFFIRMANCE
                 _____________________

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